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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION



UNITED STATES OF AMERICA,

               Plaintiff,
                                                       CASE NO. 1:20-CR-183
v.
                                                       HON. ROBERT J. JONKER
ADAM DEAN FOX,
BARRY GORDON CROFT, JR.,
DANIEL JOSPEH HARRIS, and
BRANDON MICHAEL-RAY CASERTA.

            Defendants.
__________________________________/



                                 SCHEDULING ORDER


         An essential trial participant alerted the Court this afternoon of developing

symptoms of and testing positive for covid over the weekend. That development

prevents trial from reconvening on Monday, March 14, as originally planned.

Assuming no other complications, the Court hopes to re-convene trial Thursday,

March 17, 2022.


IT IS SO ORDERED.


Dated:      March 13, 2022                /s/ Robert J. Jonker
                                          ROBERT J. JONKER
                                          CHIEF UNITED STATES DISTRICT JUDGE
